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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                   )
 NICK TURSE,                                       )
                                                   )
                 Plaintiff,                        )
                                                   )
        v.                                         )        Civil Action No. 22-2689 (CRC)
                                                   )
 U.S. DEPARTMENT OF DEFENSE, et al.,               )
                                                   )
                 Defendants.                       )
                                                   )


                                   JOINT STATUS REPORT


       Pursuant to the Court’s Minute Order of July 5, 2023, Plaintiff Nick Turse (“Plaintiff”)

and Defendants the United States Department of Defense and United States Africa Command

(“Defendants”), by and through undersigned counsel, report to the Court as follows.

       1.       This lawsuit involves a July 24, 2022, Freedom of Information Act (“FOIA”)

request directed to the Defendants seeking documents relating to an investigation carried out by

Defendants.

       2.       As previously reported, Defendants have completed their searches for responsive

documents and are processing documents to be produced in rolling interim releases. Due to the

nature of the records contemplated by the FOIA request at issue, the documents must be

reviewed by multiple components before processing and production can be completed.

       3.       Defendants made their first interim release of documents on April 18, 2023,

consisting of the main investigative report.

       4.       As previously reported, Defendants are processing the attachments (e.g., exhibits)

to the investigative report, which consist of several hundred pages of which many contain
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classified material. Approximately 200 pages are being processed by Defendants, while an

additional set of approximately 400 pages have been referred to other governmental agencies for

consultation, as they did not originate within United States Africa Command.

       5.       The current high tempo of Defendants’ operations have significantly curtailed the

resources available for the necessary internal components to complete the review, as has the fact

that Defendants currently have hundreds of FOIA requests directed to United States Africa

Command. Additionally, Defendants note that the subject matter experts on whom they depend

for review have active operational duties as part of the current events in Africa. Accordingly,

while Defendants continue to process the remaining records, they anticipate it will take several

months before the records can be processed and produced.

       6.       The Parties will continue to work in good faith as productions are ongoing. The

Parties propose filing their next status report in 60 days (on November 6, 2023) to update the

Court on the status of the FOIA request.


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Dated: September 8, 2023
Washington, DC                     Respectfully submitted,

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                                   United States Attorney

                                   BRIAN P. HUDAK
                                   Chief, Civil Division

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